     Case 3:17-cv-00439-JWD-EWD           Document 316       10/20/21 Page 1 of 1

                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF LOUISIANA
____________________________________
                                      )
BLAIR IMANI, et al.                   )
                                      )
                    Plaintiffs,       )   Docket No.17-cv-00439-JWD-EWD
      v.                              )
                                      )
CITY OF BATON ROUGE, et al.           )
                                      )
                    Defendants.       )
______________________________________)

                                         ORDER

        Considering the consent motion by thirteen plaintiffs to voluntarily dismiss certain

defendants:

        IT IS ORDERED that all claims alleged by Plaintiffs Blair Imani, Akeem Muhammad,

Samantha Nichols, Alexus Cheney, Victor Onuoha, Karen Savage, Cherri Foytlin, Alisha

Feldman, Antonio Castanon Luna, Nadia Salazar Sandi, Daniel Liebeskind, Finn Phoenix, and

Leah Fishbein against Defendants Louisiana State Police, Kevin Reeves, Herman Newell, and

William Seymour, are DISMISSED WITH PREJUDICE, with each party to bear their own costs.

        Baton Rouge, Louisiana, this 20th
                                     ___ day of October, 2021.



                                       S
              _________________________________________________________
                             U.S. DISTRICT COURT JUDGE
